                 Case 2:21-cr-00078-JAM Document 43 Filed 04/28/21 Page 1 of 5

 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 DAVID W. SPENCER
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:21-CR-0078-JAM
11
                                   Plaintiff,            STIPULATION AND JOINT REQUEST FOR
12                                                       PROTECTIVE ORDER; [PROPOSED]
                            v.                           PROTECTIVE ORDER
13
     PARAMPREET SINGH,
14   RANVIR SINGH, and
     AMANDEEP MULTANI,
15
                                  Defendants.
16

17

18                                              I.   STIPULATION
19          1.      Plaintiff United States of America, by and through its counsel of record, and defendants

20 Parampreet Singh, Ranvir Singh, and Amandeep Multani, by and through their respective counsel of

21 record (“Defendant” and “Defense Counsel”), for the reasons set forth below, hereby stipulate, agree,

22 and jointly request that the Court enter a Protective Order in this case restricting the use and

23 dissemination of certain materials that could identify undercover agents and/or confidential sources,

24 and/or that contain personal identifying information (“PII”) and other confidential information of real

25 persons.

26          2.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

27 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         1
                 Case 2:21-cr-00078-JAM Document 43 Filed 04/28/21 Page 2 of 5

 1          3.      On April 22, 2021, the Grand Jury returned an indictment charging Defendants with

 2 conspiracy to distribute and possess with intent to distribute cocaine, heroin, opium, and ketamine, in

 3 violation of 21 U.S.C. §§ 846, 841(a)(1) (Count One), and distribution of cocaine, in violation of 21

 4 U.S.C. § 841(a)(1) (Count Two).

 5          4.      As part of its investigation in the above-captioned case, the government is in the

 6 possession of documents and other materials relating to the charges against the Defendants, and seeks to

 7 provide those materials to counsel for the Defendants. The government seeks to do so pursuant to its

 8 discovery obligations, although some of the materials may exceed the scope of the government’s

 9 discovery obligations and will be produced to promote a prompt and just resolution of the case.

10          5.      The government intends to produce to Defense Counsel: (1) audio recordings, video

11 recordings, photographs, and investigative reports and other documents that could identify law

12 enforcement undercover agents and/or confidential sources; and (2) materials containing PII and other

13 confidential information of real persons. These real persons are third parties, co-defendants, or

14 witnesses to this case. This discovery will be considered “Protected Material” as described in this

15 stipulation and order, as will any other discovery marked as Protected Material.

16          6.      The purpose of this stipulation and order is to establish the procedures that must be

17 followed by Defense Counsel, any designated employees, and any other individual who receives access

18 to any Protected Material in this case and the information therein.

19          7.      The Government shall produce the aforementioned Protected Material to Defense

20 Counsel, designating the discovery with the bates prefix, “SINGH_PM_.” This discovery, and any

21 subsequent material discovered by the Government to Defense Counsel using the bates-prefix, shall be

22 considered Protected Material.

23          8.      All Protected Material in this case is now and will forever remain the property of the

24 Government. It is entrusted to Defense Counsel only for purposes of representing his/her Defendant

25 during the pendency of this case.

26          9.      Defense Counsel shall not give any Protected Material to any person other than Defense

27 Counsel’s staff assisting in preparation of the present case. The term “staff” shall explicitly include only

28 attorneys, paralegals, legal assistants, retained experts, and investigators assisting Defense Counsel in


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        2
               Case 2:21-cr-00078-JAM Document 43 Filed 04/28/21 Page 3 of 5

 1 the present matter. The term excludes any other defendant in this matter or any other pending matter

 2 against the Defendant; any person involved in any case in which discovery concerning the Defendant is

 3 produced; and any other person other than those specifically authorized to see Protected Material under

 4 this paragraph.

 5          10.      Any person receiving access to the Protected Material from Defense Counsel shall be

 6 bound by the same obligations as Defense Counsel and, further, may not give any Protected Material to

 7 anyone.

 8          11.      No members of any of the Defendants’ family, friends of the Defendants, personal or

 9 professional associates of the Defendants, or any other person affiliated with the Defendants shall be

10 given access to any Protected Material or its contents in any manner, for any reason.

11          12.      Defense Counsel may make copies of Protected Material and may take written or typed

12 notes summarizing it in connection with preparation of the case. If necessary to the litigation of the

13 instant matter, Defense Counsel may also have audio or video forms of Protected Material transcribed.

14 All notes, copies, duplicates, summaries, transcripts, or other representations of or concerning the

15 information in the Protected Material comprises “Protected Material” itself, must be affixed with the

16 corresponding bates numbers and the “Protected Material” ledger, and is subject to all terms of this

17 stipulation and order.

18          13.      Defense Counsel shall maintain a list of persons to whom any Protected Material is being

19 or has been given. Such persons shall be provided with a copy of the executed version of this stipulation

20 and order, shall sign their full names to a copy, and shall in writing acknowledge that they understand its

21 terms and are bound by it. If Defense Counsel is replaced for any reason, or if new counsel is appointed

22 in any phase of the matter, the new counsel shall not have access to any Protected Material until and

23 unless they sign a copy of this stipulation and order, under the terms described in this paragraph.

24          14.      Defense Counsel may use the Protected Material in the defense of Defendant in the

25 instant case in any manner deemed essential to adequately represent him (i.e., in motions that are filed

26 under seal, if necessary; in ex-parte applications as may be needed; and in reproducing and summarizing

27 Protected Material for use in trial preparation summaries, exhibits and as evidence, as may be needed),

28 consistent with this stipulation and order as it shall be originally prepared and signed.


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        3
               Case 2:21-cr-00078-JAM Document 43 Filed 04/28/21 Page 4 of 5

 1          15.     In the event Defense Counsel needs to use any Protected Material in a manner not

 2 authorized under this stipulation and order, Defense Counsel is entitled to seek to have this stipulation

 3 and order amended by the District Court, after having given notice to counsel for the Government, in a

 4 hearing before the District Court, in order to meet the obligations under the Sixth Amendment to the

 5 United States Constitution.

 6          16.     Defense Counsel and any authorized members of Defense Counsel’s staff are authorized

 7 to review with Defendant the contents of the Protected Material. Defense Counsel and authorized

 8 members of his/her staff, however, are prohibited from in any way giving Defendant any Protected

 9 Material or any memorialization of the content of any of it, such as: any of the Protected Material itself;

10 copies of any of the Protected Material; copies of excerpts of any of the Protected Material; or

11 summaries of any of the Protected Material. This prohibition will not extend to the Defendant viewing

12 the Protected Material in open court should any of these materials or summaries thereof be used in the

13 litigation of this case.

14                                                           Respectfully Submitted,

15    Dated: April 27, 2021                                  PHILLIP A. TALBERT
                                                             Acting United States Attorney
16

17                                                    By: /s/ DAVID W. SPENCER
                                                          DAVID W. SPENCER
18                                                        Assistant United States Attorney
19

20    Dated: April 27, 2021                                  /s/ DAVID A. TORRES
                                                             DAVID A. TORRES
21                                                           Counsel for Defendant
                                                             Parampreet Singh
22

23    Dated: April 27, 2021                                  /s/ DINA L. SANTOS
                                                             DINA L. SANTOS
24                                                           Counsel for Defendant
                                                             Ranvir Singh
25

26    Dated: April 27, 2021                                  /s/ N. ALLEN SAWYER
                                                             N. ALLEN SAWYER
27                                                           Counsel for Defendant
                                                             Amandeep Multani
28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        4
              Case 2:21-cr-00078-JAM Document 43 Filed 04/28/21 Page 5 of 5

 1                                [PROPOSED] FINDINGS AND ORDER

 2         The Court having read and considered the Stipulation and Joint Request for a Protective Order,

 3 which this Court incorporates by reference into this Order in full, hereby finds that GOOD CAUSE

 4 exists to enter the above Order.

 5         IT IS SO FOUND AND ORDERED this 28th day of April 2021.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER     5
